 Case 4:20-cv-00321-SDJ Document 71 Filed 09/22/22 Page 1 of 2 PageID #: 457



                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               SHERMAN DIVISION

NATHANIEL HIERS,

                 Plaintiff,

v.                                             Civil Case No. 4:20-cv-00321-SDJ

THE BOARD OF REGENTS OF THE
UNIVERSITY OF NORTH TEXAS SYSTEM,
et al.,

                Defendants.


                         JOINT STIPULATION OF DISMISSAL
      Through Fed. R. Civ. P. 41(a)(1)(A)(ii) and a settlement agreement reached by

the parties, Plaintiff jointly stipulates with Defendants that all claims brought in

Plaintiff’s Complaint are voluntarily dismissed with prejudice.


      Respectfully submitted this day, September 22, 2022.

/s/ Michael R. Ross                          /s/ Todd Dickerson
MICHAEL R. ROSS*                             Todd A. Dickerson
TYSON C. LANGHOFER*                          Attorney-in-charge
ALLIANCE DEFENDING FREEDOM                   Texas Bar No. 24118368
44180 Riverside Parkway                      Office of the Attorney General
Lansdowne, VA 20176                          P.O. Box 12548, Capitol Station
Telephone: (571) 707-4655                    Austin, Texas 78711-2548
Facsimile: (571) 707-4790                    (512) 463-2120 |Fax: (512) 320-0667
mross@ADFlegal.org                           Todd.Dickerson@oag.texas.gov
tlanghofer@ADFlegal.org

GREGGORY R. WALTERS*
ALLIANCE DEFENDING FREEDOM
15100 N. 90th Street
Scottsdale, AZ 85260
Telephone: (480) 444-0020
Facsimile: (480) 444-0028
gwalters@adflegal.org




                                         1
Case 4:20-cv-00321-SDJ Document 71 Filed 09/22/22 Page 2 of 2 PageID #: 458



DAVID A. CORTMAN
ALLIANCE DEFENDING FREEDOM
1000 Hurricane Shoals Road NE,
Suite D-1100
Lawrenceville, GA 30043
Telephone: (770) 339-0774
Facsimile: (770) 339-6744
dcortman@ADFlegal.org

THOMAS S. BRANDON, JR.
TEXAS BAR NO. 02881400
WHITAKER CHALK SWINDLE & SCHWARTZ,
PLLC
301 Commerce Street, Suite 3500
Fort Worth, TX 76102
Telephone: (817) 878-0532
Facsimile: (817) 878-0501
tbrandon@whitakerchalk.com

*Admitted Pro Hac Vice

Attorneys for Plaintiff Nathaniel Hiers




                                          2
